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 1                  IN THE UNITED STATES DISTRICT COURT
                       NORTHERN DISTRICT OF ILLINOIS
 2                            EASTERN DIVISION
 3
     UNITED STATES OF AMERICA,       )
 4                                   )
                     Plaintiff,      )   Docket No. 13 CR 515
 5                                   )
              vs.                    )
 6                                   )
     DMITRY FIRTASH and ANDRAS       )
 7   KNOPP,                          )   Chicago, Illinois
                                     )   July 2, 2018
 8                   Defendants.     )   9:08 a.m.
 9
                  TRANSCRIPT OF PROCEEDINGS - Status
10             BEFORE THE HONORABLE REBECCA R. PALLMEYER
11
     APPEARANCES:
12
13   For the Plaintiff:        HON. JOHN R. LAUSCH JR.
                               UNITED STATES ATTORNEY
14                             BY: MR. AMARJEET S. BHACHU
                               219 South Dearborn Street
15                             Chicago, Illinois 60604
16                             UNITED STATES DEPARTMENT OF JUSTICE
                               BY: MR. CHRISTOPHER J. CESTARO
17                             1400 New York Ave. NW
                               Washington, DC 20530
18
19   For the Defendant         WINSTON & STRAWN LLP
     Dmitry Firtash:           BY: MR. DAN K. WEBB
20                                  MR. MATTHEW R. CARTER
                               35 West Wacker Drive
21                             Chicago, Illinois 60601
22   For the Defendant         LAW OFFICES OF CAROLYN GURLAND
     Andras Knopp:             BY: MS. CAROLYN PELLING GURLAND
23                             414 North Clay Street
                               Hinsdale, Illinois 60521
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     Court Reporter:   FRANCES WARD, CSR, RPR, RMR, FCRR
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 1             THE CLERK: 13 CR 515, United States versus Dmitry
 2   Firtash and Andras Knopp for status.
 3             MR. BHACHU: Good morning, your Honor.
 4             Amar Bhachu and Chris Cestaro -- his last name is
 5   spelled C-e-s-t-a-r-o -- on behalf of the United States.
 6             THE COURT: Good morning.
 7             MR. WEBB: Your Honor, Dan Webb and Matt Carter on
 8   behalf of the Defendant Dmitry Firtash.
 9             THE COURT: Good morning.
10             MS. GURLAND: Good morning, your Honor.
11             Carolyn Gurland on behalf of Andras Knopp.
12             THE COURT: Okay. And what's our status?
13             I know that I got letters from counsel earlier in
14   the summer.
15             What's our current status?
16             MR. WEBB: I am going to give you a quick status.
17             THE COURT: Okay.
18             MR. WEBB: This stuff is complicated in Austria,
19   but I'm going to give you a quick status.
20             And thank you for hearing us today, because this
21   status is a little more imminent than earlier ones, which I
22   updated you in letters.
23             THE COURT: Right.
24             MR. WEBB: And I do appreciate you considering it.
25             THE COURT: Right.
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 1             MR. WEBB:   So, as your Honor knows, we got this
 2   motion pending that was fully briefed at the end of August.
 3   You gave us two days of argument, which we have had, and I
 4   have continued to give you updates.
 5             The status is the following: That there is this
 6   court in the EU called the Court of Justice of the European
 7   Union. It has before it a case that is called XC and Others.
 8   That is a case that actually is considering at least what I'm
 9   told is a very critical issue that affects my client's case
10   before the Austrian Supreme Court.
11             That is a case that is deciding the applicability
12   of the EU Charter on Human Rights to extraordinary appeal
13   proceedings before the Austrian Supreme Court, which my
14   client currently has a case before the Austrian Supreme
15   Court, which I'm going to use the word "stayed," and it's not
16   active right now. They are waiting for this decision to come
17   down.
18             That decision is going to come down, and we know
19   it's going to come down because of the following.
20             THE COURT: Before you tell me that, let me just
21   ask one question and make sure I understand this.
22             This case, XC and Others, that's in the EU Court of
23   Justice -- Court of Justice of the European Union is
24   addressing -- is considering a procedure that's in the
25   Austrian Supreme Court. It's directed at the same court that
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 1   involves your client.
 2             MR. WEBB: That's correct.
 3             THE COURT: All right. Go ahead.
 4             MR. WEBB: Thank you. Yes, your Honor.
 5             So we know what's likely to happen because on June
 6   5th, a couple weeks ago -- June 5th, an opinion came down
 7   from that court. It's called an advisory opinion, and it's
 8   issued by someone called the Advocate General, who is some
 9   type of official with that court.
10             And that opinion states, in essence, that there is
11   no obligation for the Austrian Supreme Court to apply the ECU
12   Charter on Human Rights in a case like Dmitry has -- Dmitry
13   Firtash has before the Austrian Supreme Court. That's a
14   significant decision.
15             Now, that is an advisory opinion. However, I am
16   told by the Austrian lawyers that this European court will
17   almost always follow that advisory opinion. And so it's
18   highly likely that the Court of Justice of the European Union
19   is going to follow the advisory opinion and enter the opinion
20   I just described to you.
21             When that happens, I'm told that Mr. Firtash's
22   Austrian Supreme Court case will become reactivated
23   immediately before the Austrian Supreme Court and that he
24   will face extradition shortly. I'm told maybe the end of
25   August or in September.
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 1             Now, nobody knows these things for sure, but the
 2   reason they asked me to come before you as opposed to just
 3   doing a letter update is because this is, at least they
 4   believe, much more imminent that he will face extradition.
 5   And as your Honor knows when we argued this, we are obviously
 6   hoping that if we got a decision on these critical venue and
 7   jurisdiction issues, it would have a profound impact on
 8   whether this man gets put on a plane back to the U.S. and is
 9   maybe incarcerated.
10             So that's why they asked me to come here, and
11   that's the update. We are just updating you, and asking you
12   whether it's possible to expedite or where things stand.
13   That's why we came. And we appreciate the chance to give you
14   the update.
15             THE COURT: Anything -- Ms. Gurland, do you want to
16   add anything on behalf of Mr. Knopp?
17             MS. GURLAND: Nothing specific, your Honor.
18             I wrote a letter and sent it to the Court along
19   with the letter from Mr. Firtash. And all of the facts in
20   that letter remain the same, although he will be 80 on
21   September 1st, and he remains not in the best of health. And
22   he remains in a situation where he is in Moscow not having
23   access to his doctors, who are in Budapest, and not having as
24   regular contact as he would like to have with his family, who
25   are either in Budapest or in London. That was the situation
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 1   as I explained it in the letter, and that remains the
 2   situation today, other than, of course, he is older.
 3             THE COURT: Got it.
 4             For the government?
 5             MR. BHACHU: Judge, what I just observed is that
 6   the initial motions to dismiss in this case were filed, I
 7   believe, last May. And since that time, we have been told
 8   several times by, I think, Austrian counsel for Mr. Firtash
 9   that things were about to happen. And I think I told you
10   when we appeared on the motion to dismiss it's pretty
11   difficult to figure out exactly what's going on in Europe.
12             After that point in time, we had several updates
13   where Austrian counsel, I think, for Mr. Firtash suggested
14   something was about to happen and then something wasn't about
15   to happen and then something was about to happen.
16             I would just say to your Honor that, in my view,
17   it's been very difficult to figure out exactly what the
18   course of proceedings in Austria is.
19             It is correct that there was an advisory opinion
20   that was issued several weeks ago, but the timeline within
21   which the European court will then rule, after having
22   received that recommendation -- so what it is, is it's a
23   recommendation basically about how they should rule.
24   Probably much the same way as a magistrate might submit a
25   recommendation to your Honor.
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 1             THE COURT: Right.
 2             MR. BHACHU: The timeline under which the European
 3   court will rule is indeterminate.
 4             I think I could project two things happening for
 5   sure.
 6             One is that Mr. Firtash's Austrian counsel, if he
 7   is unsuccessful in his appeal to the Austrian Supreme Court,
 8   will attempt to take a further appeal to the European Court
 9   of Human Rights. That's the kind of standard playbook for
10   people trying to avoid extradition to the United States.
11             And so that process -- whether or not that process
12   would result in a further delay in his extradition is unknown
13   at this point in time. And that's something that would
14   really depend upon the decision of the Austrian government.
15   They might decide to let him stay in Austria pending a
16   decision from the European Court of Human Rights, which could
17   take another two to three years, or they could ship him back
18   pending that decision. It's just not known at this juncture.
19             The other thing I just want to stress with regard
20   to these motions, which we made at this point before, I also
21   suspect that Austrian counsel would likely, if there was any
22   sort of ruling from this court, use it as an opportunity to
23   try, as they are doing with the other proceedings in Europe,
24   to restart the extradition process in Austria anew. So that
25   if your Honor issued some sort of adverse ruling to the
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 1   government here and we were able to cure it promptly through
 2   a superseding indictment or something like that -- I don't
 3   think we need to do that, obviously, for the reasons we
 4   already talked about. But what I imagine would happen is,
 5   there would be an effort to restart the extradition process
 6   in Austria, thus delaying potential extradition for another
 7   four years.
 8             So my point is, I think that it's really
 9   indeterminate to know what's going on in Austria right now.
10   There are proceedings that are still pending, but I don't
11   think it's fair to say that we know exactly when those
12   proceedings are going to conclude.
13             MR. WEBB: I would agree that there is uncertainty.
14   I agree with that. Although there is no question this
15   development in June is a big deal over there. And if that
16   Austrian Supreme Court in two weeks orders him extradited, at
17   least I'm told that that court is not likely to stay things
18   any further because of an appeal to this human rights court.
19   I can't tell you that for certain, but I do know there is
20   clearly a sense of immediacy and concern.
21             And I appreciate you hearing us.
22             THE COURT: Okay. So I interpret what I am hearing
23   as, although there may or may not have been a reason for
24   urgency before this, there certainly is, at least from
25   defendant's perspective, now.
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 1             I don't believe that it makes any sense for me to
 2   delay a whole lot longer in ruling. I recognize there may or
 3   may not be any genuine urgency for the reasons that
 4   Mr. Bhachu mentioned. But it's been briefed. I'm in a
 5   position to rule on it now, so that's what I will do.
 6             Recognizing that you have got two weeks or four
 7   weeks, or whatever it might be, why don't you let me know if
 8   anything else does happen. You can do that even by a letter,
 9   as you have done.
10             And I'm assuming that there is no big change in the
11   law between now and when it was last briefed. If there is
12   something new that's come down that you want me to know
13   about, I want to give you about seven days to do that. So if
14   there is something new that you want to add to your briefs,
15   please do so immediately.
16             MR. WEBB: I believe the answer is no, there is
17   nothing new that we have to add.
18             THE COURT: That's my expectation as well. I have
19   been kind of following the law, and I don't see anything
20   particularly new.
21             MR. WEBB: We don't either.
22             THE COURT: If there is something I don't know
23   about, you can let me know.
24             MS. GURLAND: We will look, your Honor.
25             As we had mentioned at the oral argument, that RJR
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 1   Nabisco case was relatively new at the time. And one of the
 2   points that we had argued was that there was relatively
 3   little guidance to federal courts about how they should
 4   interpret this, and it's relatively complicated because it
 5   applies differently to RICO than to money laundering than to
 6   Travel Act. So there is some chance that some federal courts
 7   have come down with some guidance. And if that is true, we
 8   will get you something in seven days, as you have asked.
 9             THE COURT: Okay. That's great.
10             MR. BHACHU: Very good, Judge.
11             THE COURT: All right. Thank you.
12             MR. WEBB: Thank you, your Honor.
13                         *   *   *   *   *
14   I certify that the foregoing is a correct transcript from the
     record of proceedings in the above-entitled matter.
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16   /s/ Frances Ward_________________________July 30, 2018.
     Official Court Reporter
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